Case 2:17-cv-00001-AWA-RJK Document 5 Filed 04/06/17 Page 1 of 2 PageID# 162




                     THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                             NORFOLK DIVISION


 SYMBOLOGY INNOVATIONS, LLC,

              Plaintiff,
                                              CIVIL ACTION NO. 2:17-cv-00001
       v.

 CUSTOMINK LLC

              Defendant.




                    NOTICE OF VOLUNTARY DISMISSAL

      Under the Federal Rule of Civil Procedure 41(a), Symbology Innovations,
LLC (“SI”) voluntarily dismisses all claims against Defendant CustomInk with
prejudice, with each party bearing its own attorneys’ fees and costs.
Dated: April 6, 2017                         Respectfully submitted.


                                             /s/ Steven War
                                             Steven War
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                                             Innovations, LLC
Case 2:17-cv-00001-AWA-RJK Document 5 Filed 04/06/17 Page 2 of 2 PageID# 163




                            CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that on April 6, 2017, I have

caused a true and correct copy of the foregoing to be electronically filed with the

Clerk of the District Court using the CM/ECF system, which will send

notifications of such filing to all counsel of record.

Dated: April 6, 2017                           By: /s/ Steven War

                                               Steven War
